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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:21-cv-03350-KLM

   CARA FUNK
                                  Plaintiff

   v.

   LIGHTRAIL PROPERTIES, LLC
                                  Defendant

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                             PURSUANT TO FRCP 41(a)(1)

   TO THE HONORABLE JUDGE OF SAID COURT:


          PLEASE BE ADVISED that the parties in this case, CARA FUNK , Plaintiff and

   LIGHTRAIL PROPERTIES, LLC, Defendant have reached a resolution of Plaintiff’s

   claims and pursuant to FRCP 41(a)(1)(A)(ii), requests dismissal of all claims against

   Defendant in their entirety and with prejudice.

                                          STIPULATION


          It is stipulated by and between the parties hereto that this action be dismissed with

   prejudice as to all parties and as to all causes of action with each party to bear their own

   attorney’s fees and costs.

   DATED:        March 15, 2022           FOR CARA FUNK, Plaintiff

                                          BY:       /S/ R. Bruce Tharpe________
                                          R. Bruce Tharpe
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                               Federal Bar ID 13098

   DATED:    March 15, 2022    FOR LIGHTRAIL PROPERTIES, LLC

                               BY: _/s/ Nadia G. Malik_____
                               Nadia G. Malik
                               MALIK LEGAL SOLUTIONS, LLC
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